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Honorable Anita B. Brody

Senior United States District Judge

l ames A. Byrne United States Courthouse
601 Market Street

Philadelphia, PA 19106

In re.' Nat ’l Football League Retired Players’ Concussz`on Lz`tig., No. 12-md-2323~AB
Dear ludge Brody:

On behalf of the NFL Defendants, we respectfully respond to the April 17,
2018 letter from Lead Counsel for Opt-Out Plaintii`fs, Wendy R. Fleishman (the “Letter”,
attached), regarding the April 16, 2018 oral argument on the NFL Defendants’ pending
motion to dismiss the Opt-Out Plaintiffs’ Second Arnended Master Administrative Long-
Form Complaint on preemption grounds.

As an initial matter, Ms. Fleishman’s unsolicited letter to chambers Was
improperly submitted in violation of Your Honor’s Policies and Procedures and should be
disregarded for that reason alone. (See Judge Anita B. Brody, Policies and Procedures, at
l (restricting correspondence by letter to “urgent administrative matters” and providing
that “[a]ll other matters should be addressed by motion”).) Aside from this procedural
deficiency, the Letter also is Substantively inaccurate,` so We are compelled to correct the
record.

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Firsz‘, the Letter lists five cases purportedly “involving health and safety
related claims in the football context Where courts . . . found there Was no
preemption.” These are precisely the cases that I referenced during argument when Your
Honor asked about football-related cases finding no preemption But as l explained,
there are “no cases that I am aware of that deal With concussions and health and
Safely that did not find preemption.” (Audio File of Hearing Held on April 16, 2018 at
18:17, 28:45; ECF No. 9887.) None of the cases cited in the Letter concerned
concussions and health and safety issues. As l mentioned at argument, one of the cases
involved a penalty flag thrown by a referee into a player’s eye, and two involved
conditions at training facilities. See Brown v. Nat’l Football League, 291 F. Supp. 2d
372 (S.D.N.Y. 2002) (involving thrown penalty flag);Bentley v. Cleveland Browns
Football Co., 2011-Ohio-3390, 958 N.E.Zd 585, 590 (Ohio Ct. App. 2011) (staph
infection at team facility); Jurevicius v. Cleveland Browns Footbali Co., LLC, No. 09-cv-
1803, 2010 WL 8461220 (N.D. Ohio Mar. 31, 2010) (same; see also NFL Defs.’ Reply
Mem. of LaW at 16 n.9, ECF No. 9665 (distinguishing Brown, sharevi'cii,ls)).l

I did not understand the Court to be asking about plainly irrelevant cases
relating to equipment or bearing no connection to concussions, Which round out Ms.
Fleishman’s remaining cases. See Green v. Pro Football, Inc., 31 F. Supp. 3d 716, 727
(D. Md. 2014) (preemption of intentional battery and conspiracy claims involving an
illegal bounty program)', Oliver v. Rr`a'dell, No. 16-cv-4760, 2016 WL 7336412 (N.D. Ill.
]ul. 19, 2016) (no preemption because complaint concerned “duties and obligations of a
third party helmet manufacturer-want the NFL and its players” (emphasis
added)); St'ringer v. Nat’l Football League, 474 F. Supp. 2d 894 (S.D. Ohio 2007)
(equipment»related claim not preempted but wrongful death claim relating to health and
safety preempted); NFL Defs.’ Reply Mem. of Law at 10, ECF No. 9665
(distinguishing Green and Oliver); NFL Defs.’ Mem. of Law at 42-43 n.16, ECF No.
8403-1 (discussing Srrr`nger equipment-related issues).2

By contrast, every case that has dealt With concussions or neurocognitive
injuries in football_as the claims at issue here do-or other similar health and safety
issues involving the NFL or its Member Clubs, has found preemption because of the need
to interpret the terms of the Collective Bargaining Agreernents in order to resolve
plaintiffs’ claims. See, e,g., Ballard v. Nar’l Football League Players Ass'n, 123 F.
Supp. 3d 1161 {E.D. Mo. 2015); sz`rh v. Nat’l Foolball League Players’Ass’n, No. 14-

 

1 Ms. Fleishman did not cite Bentley in her brief, but it is distinguishable for the same reasons as Jurevz'cz`us.
See Bentley, 958 N.E.2d at 589 (describing allegations in Jurevz'cz'us as “identical).

2 Regarding the claims against NFL Properties LLC (“NFLP”), as fully explained in the NFL Defendants’
moving brief, it is impossible to examine Whether NFLP owed any duty Withcut determining how any
alleged duties related to protecting players or relating to playing equipment are allocated among the NFL
and its Member Clubs, which requires interpretation of the relevant provisions of the CBA. (See NFL
Defs.’ Mem. of Law at 414-12, ECF No. 8403-1.) In any event, there is no claim properly stated against
NFLP because there are no non»conclusory allegations relating to NFLP specifically that would support the
existence of any alleged duty. (la'.; see also NFL Defs.’ Mem. cf Law ln Supp. of Mot. to Dismiss for
Failure to State a Claim at 33-34, ECF No. 8404-1.)

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cv-1559, 2014 WL 6776306 (E.D. Mo. 2014); Dem‘ v. Nat’l Foorball League, No. C 14-
02324, 2014 WL 7205048 (N.D. Cal. Dec. 17, 2014); Duerson v. Nat’l Fooiball League,
No. 12-cv-2513, 2012 WL 1658353 (N.D. Ill. May 11, 2012); Maxweli v. Nai’l Fooiball
League, No. 11-CV-08394, Order (C.D. Cal. Dec. 8, 2011), ECF No. 58; see also
Williams v. Nat'l Football League, 582 F.3d 863, 881-82 (8th Cir. 2009); Givens v.
Tenn. Foorball, Inc., 684 F. Supp. 2d 985, 989»~92 (M.D. Tenn. 2010); Stringer v. Nat’l
Fooiball League, 474 F. Supp. 2d 894, 908_11 (S.D. Ohio 2007); Sher'win v.
Indianapolis Colts, Inc., 752 F. Supp. 1172, 1178-79 (N.D.N.Y. 1990); Jej‘ers v.
D’Allessandro, 681 S.E.Zd 405, 412 (N.C. Ct. App. 2009).

Second, contrary to Ms. Fleishman’s assertions, l never suggested “that
there was no CBA at issue” in Kline v. Securiiy Guara's, Inc., 386 F.3d 246 (3d Cir.
2004). (See Letter at 2.) To the contrary, I explained that in Kiine, there were no
CBA provisions addressing eavesdropping or surveillance that would have been relevant
to the invasion of privacy and wiretap-related statutory claims asserted in that case, and
so resolution of those claims turned on the facts, not on interpretation of the
CBA. (See Audio File of Hearing Held on April 16, 2018 at 13:38, 51:21, ECF No. 9887
(“all the Kline case says is that there is nothing in the collective bargaining agreement
that speaks to the issue of Whether you can have eavesdropping devices all over and in
that case Where the claims Were [for] violation of the wiretap act and the surveillance act
and things like that, the court said we don’t need to look at anything in the collective
bargaining agreement to determine if there is a violation”).) Here, as in the cases cited
above and as explained in the NFL Defendants’ briefs, where the claims concern the
NFL’s alleged duties to protect players and inform them about health and safety issues
relating to concussions, resolution of those claims is substantially dependent on, and
requires interpretation of, numerous CBA provisions Nothing in Kline (or Trans Perm
Wax v. McCandless, 50 F.3d 217 (3d Cir. 1995), for that matter) is to the
contrary. (See NFL Defs.’ Reply Mem. of Law at 6, ECF No. 9665 (addressing Kline).)

For the reasons stated above, at oral argument, and in the NFL
Defendants’ briefs, Opt-Out Plaintiffs’ claims are preempted by Section 301 cf the Labor
Management Relations Act and should be dismissed in their entirety.

Respectf`ully submitted,

ah /JiL->

Bruce Birenboim

ccc Wendy R. Fleishrnan, Esq.

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_ QI_EIRTIFICATE OF SERVICE
lt is hereby certified that a true copy of the foregoing document
was served electronically via the Court’s electronic filing system on the 19th

day of April, 2018, upon all counsel of record.

Dated: April 19, 2018 /s/ Bruce Bir'enboim
Bruce Birenboim

